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                     IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_______________________________________
                                        :
MONTRELL OLIVER,                        :      CIVIL ACTION
                                        :
            Petitioner,                 :
                                        :
                    v.                  :
                                       :       No. 16-cv-5537
SUPERINTENDENT BARRY SMITH,            :
ET AL.,                                :
                                        :
            Respondents.               :
_______________________________________:

                                             ORDER

       AND NOW, this 9th day of January 2024, upon consideration of Petitioner Montrell

Oliver’s “Petition for Writ of Habeas Corpus” (ECF No. 45), Respondent the District Attorney of

Philadelphia County’s “Response to Amended Petition for Writ of Habeas Corpus” (ECF No. 50),

Petitioner’s “Memorandum in Reply to Respondent’s Response” (ECF No. 61), the Report and

Recommendation of the United States Magistrate Elizabeth T. Hey (ECF No. 77), Transcript of

the Evidentiary Hearing dated Aug. 24, 2022, (ECF No. 89), Judge Hey’s “Amended Report and

Recommendation” (ECF No. 93), and Petitioner’s “Objection to Report and Recommendations”

(ECF No. 94), it is hereby ORDERED that:

       1.       The Report and Recommendation, as amended, (ECF No. 93) is APPROVED

                AND ADOPTED.

       2.       The petition for writ of habeas corpus is GRANTED with respect to Petitioner’s

                claim of ineffective assistance of counsel (“IAC”) for failing to investigate and

                present testimony from alibi witnesses.




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3.       Execution of the writ is STAYED for 180 days to permit the Commonwealth to

         retry Petitioner.

4.       In all other respects, the writ is DENIED.

5.       A certificate of appealability shall not issue.



                                         BY THE COURT:



                                         /s/ Mitchell S. Goldberg
                                         MITCHELL S. GOLDBERG, J.




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